        Case 19-13382-elf            Doc 13 Filed 05/31/19 Entered 06/01/19 01:08:18                               Desc Imaged
                                           Certificate of Notice Page 1 of 2
                                              United States Bankruptcy Court
                                            Eastern District of Pennsylvania
In re:                                                                                                     Case No. 19-13382-elf
Bringkop Ariyamitr                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0313-2                  User: DonnaR                       Page 1 of 1                          Date Rcvd: May 29, 2019
                                      Form ID: 130                       Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 31, 2019.
db             +Bringkop Ariyamitr,   13 Douglas Street,   Ambler, PA 19002-4941

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 31, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 29, 2019 at the address(es) listed below:
              JILL MANUEL-COUGHLIN    on behalf of Creditor   WILMINGTON SAVINGS FUND SOCIETY FSB ET SEQ.
               jill@pkallc.com,
               chris.amann@pkallc.com;nick.bracey@pkallc.com;samantha.gonzalez@pkallc.com;harry.reese@pkallc.com
               ;mary.raynor-paul@pkallc.com;amanda.rauer@pkallc.com
              MICHAEL W. GALLAGHER   on behalf of Debtor Bringkop Ariyamitr mwglaw@msn.com,
               mwglaw1@verizon.net
              TERRY P. DERSHAW   td@ix.netcom.com, PA66@ecfcbis.com;7trustee@gmail.com
              United States Trustee   USTPRegion03.PH.ECF@usdoj.gov
                                                                                            TOTAL: 4
  Case 19-13382-elf          Doc 13 Filed 05/31/19 Entered 06/01/19 01:08:18                         Desc Imaged
                                   Certificate of Notice Page 2 of 2




                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

    In Re:                                             Chapter: 7
        Bringkop Ariyamitr
                         Debtor(s)                     Bankruptcy No: 19−13382−elf

                                        ORDER


    AND NOW, this 29th day of May 2019 , the debtor having failed to file or submit with the
petition all of the documents required by Fed. R. Bankr. P. 1007,

  It is hereby ORDERED that:

1. This case MAY BE DISMISSED WITHOUT FURTHER NOTICE if the documents listed
below are not filed by deadline also listed below:

               Documents and Deadline



               Schedules AB−J due 06/11/2019.
               Statement of Financial Affairs due 06/11/2019.
               Summary of Assets and Liabilities Form B106 due 6/11/2019.



  2. Any request for an extension of time must be filed prior to the expiration of the deadlines listed
above in Paragraph 1.




                                                                                           By the Court

                                                                                        Eric L. Frank
                                                               Judge , United States Bankruptcy Court
                                                                                                                  10
                                                                                                            Form 130
